Case 4:20-cv-00957-SDJ Document 353 Filed 04/10/24 Page 1 of 3 PagelD #: 9739

IN THE UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF TEXAS
SHERMAN DIVISION
THE STATE OF TEXAS, ET AL. §
§
§
v § CIVIL NO. 4:20-CV-957-SDJ
§
§
GOOGLE LLC §

ORDER OF SPECIAL MASTER

This Order complies with the Order Appointing Special Master (Dkt. 213 at
11) and memorializes a ruling and guidance provided by the Special Master to the
parties regarding submission of their discovery disputes to the Special Master.

On April 9, 2024, the parties submitted an email request to the Special Master
for leave to amend page limits and a briefing schedule provided for in the Special
Master's April 8, 2024 Order (Dkt. #339). Defendant Google LLC (“Google”) proposes
to modify the Special Master’s Order by filing: (1) an opening brief (of no more than
7 pages); (2) a motion for a protective order regarding high level executives (of no
more than 15 pages): and (3) a motion for a protective order regarding
discovery-on-discovery issues and in house counsel depositions (of no more than 12
pages). Plaintiff States (the “States”) propose to file a single opening brief (of no more
than 12 pages). Both parties’ requests are unopposed. The parties further jointly
requested that the deadline for all responsive briefs be moved from Friday, April 12,
2024 to Monday, April 15, 2024 at 5:00 p.m. CT and that the parties have an equal

number of pages to respond.
Case 4:20-cv-00957-SDJ Document 353 Filed 04/10/24 Page 2 of 3 PagelD #: 9740

The Special Master GRANTED the parties’ requests. The parties’ requests,
and the Special Master’s ruling and guidance regarding the same, is attached hereto
as Exhibit 1.

Signed this 10th day of April, 2024.

Sea

David T. Moran

Special Master

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Case 4:20-cv-00957-SDJ Document 353 Filed 04/10/24 Page 3 of 3 PagelD #: 9741

CERTIFICATE OF SERVICE

The undersigned certifies that the foregoing Order of Special Master was filed
electronically in compliance with Local Rule CV-5(a) on this 10th day of April 2024.

As such, this document was served on all counsel who are deemed to have consented

PraUWee

David T. Moran

to electronic service. Local Rule CV-5(a)(3)(A).

